Case 4:21-cv-00661 Document 1-8 Filed on 03/01/21 in TXSD Page 1 of 3




                EXHIBIT D-4
            00661 Document 1-8 Filed on 03/01/21 in TXS




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                            UNITED STATES POSTAL SERVICE                                                                                           .
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    .                                                     Code: 21-01-01381                    -‘

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                                                          CodeZ: County Court   at   Law #2                                                       Permit No. G-1 0
                                                              Sender. Please           print        your name, address, and Z|P+4®             in this   box
                                                                                       MontQOmery County                    District Cle   g
                                                                                       P. O. Box 2985                                                                0 a
                                                                                       Conroe, TX 77305                                                  ,ﬁ               “hm
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     I Complete                                               ilérhé   '1;   2.'a'nd   3                              A. Signature‘                                                \
     l                       Print your name and address on the reverse
                             so that we can return the card to you.
                                                                                                                      X                w                                     U Agent
                                                                                                                                                                             U Addresses
     l                       Attach this card to the back of the mailpiece.
                             or on the front if space permits.
                                                                                                                      B.   Heceivquﬂ       «Wwat                    c. Date‘ of Delivery
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1.    Amide Addressed                                                   lo:                                           D.   Is   delivery address different irom nern   1'?
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                                               US Bank, MA.
                                               Registered Agent                 CT Corporation System
                                               1999 Bryan Street Ste 900
                                               Dallas,      TX      75201.31 36
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